12-12020-mg          Doc 6082          Filed 12/12/13 Entered 12/12/13 19:06:06              Main Document
                                                   Pg 1 of 4
                                                 Hearing Date: December 17, 2013 at 10:00 a.m. (ET)
                                              Objection Deadline: December 9, 2013 at 4:00 p.m. (ET)
     SEVERSON & WERSON
     A Professional Corporation
     One Embarcadero Center, Suite 2600
     San Francisco, California 94111
     Telephone: (415) 398-3344
     Facsimile: (415) 956-0439
     Duane M. Geck (Admitted Pro Hac Vice)
     dmg@severson.com
     Donald H. Cram (Admitted Pro Hac Vice)
     dhc@severson.com

     Special California Litigation Counsel to the
     Debtors and Debtors in Possession


     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK



     In re                                               Case No. 12-12020 (MG)

     RESIDENTIAL CAPITAL, LLC, et al.,,                  Chapter 11

                            Debtors.                     Jointly Administered



     ERRATA AND STATEMENT OF RESOLUTION OF OMNIBUS OBJECTION OF THE
     UNITED STATES TRUSTEE REGARDING SEVERSON & WERSON, P.C.’S FOURTH
      APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES
      INCURRED FOR THE TIME PERIOD MAY 1, 2013 THROUGH AUGUST 31, 2013

              Severson & Werson, P.C. (“Applicant”), Special California Litigation Counsel to

     Residential Capital, LLC., et al., as debtors and debtors in possession (collectively, the

     “Debtors”), submits this errata to the fee applications for fourth interim compensation attaching

     the spreadsheet of expenses to supplement Exhibit D of the application and statement of

     resolution to the omnibus objection of the United States Trustee (“UST”) regarding the fee

     applications for fourth interim compensation and reimbursement of expenses, including the

     application submitted by Applicant, respectfully showing as follows:




     19000.9997/3000225.1
12-12020-mg          Doc 6082           Filed 12/12/13 Entered 12/12/13 19:06:06                   Main Document
                                                    Pg 2 of 4


                                             RELEVANT BACKGROUND

               1.           On July 25, 2012, the Court entered the Order Under Section 327(c) of the

     Bankruptcy Code, Bankruptcy Rule 2014(a) and Local Rule 2014-1 Authorizing the Employment

     and Retention of Severson & Werson PC as Special California Litigation Counsel to the

     Debtors, Nunc Pro Tunc to May 14, 2012 [Docket No. 905], approving Applicant’s retention.

               2.           In general, Applicant has represented the Debtors in connection with litigation in

     California where Applicant:


                        (a)        defended claims brought in California by individual borrowers pertaining
                                   to consumer lending issues, including, but not limited to, allegations of
                                   wrongful foreclosure, irregularities in the foreclosure process, violation of
                                   applicable statutes related to pre-foreclosure requirements, breach of
                                   alleged oral modification, breach of promises to forebear from foreclosing,
                                   quiet title and partition actions, unfair business practices act claims and
                                   other mortgage lending issues;

                        (b)        defended class action claims regarding alleging improprieties with loan
                                   origination and/or servicing;

                        (c)        defended mass tort actions and qui tam actions raising document recording
                                   issues and relating to the utilization of Mortgage Electronic Registration
                                   Systems services; and

                        (d)        defended claims objections, contested relief from stay motions and
                                   adversary proceedings related to consumer lending issues brought by
                                   individual borrowers in their respective bankruptcy cases pending in
                                   California;

     On average, Applicant performed services on behalf of one or more of the Debtor entities with

     respect to 42 different litigation matters in California for each month of the Application period.

               3.           Pursuant to the terms of the Court’s Order Establishing Procedures for Interim

     Compensation and Reimbursement of Expenses of Professionals entered July 17, 2012 (the

     “Interim Compensation Order”) [Docket No. 797], Applicant, among others, filed its fourth

     application for compensation and reimbursement of expenses incurred for the time period




     19000.9997/3000225.1                                    2
12-12020-mg          Doc 6082          Filed 12/12/13 Entered 12/12/13 19:06:06                Main Document
                                                   Pg 3 of 4


     between May 1, 2013 and August 31, 2013 (the “Application”) [Docket No. 5815] on

     November 18, 2013. By way of its Application, Applicant seeks compensation of $271,728.85

     and reimbursement of expenses in the amount of $21,965.03. This Application inadvertently

     omitted a spreadsheet attachment to Exhibit D which itemized each expense component of the

     total expenses sought.

               4.           On October 23, 2013, the Debtors filed a Notice of Hearing and Deadlines

     Regarding Interim Applications for Allowance of Compensation and Reimbursement of

     Expenses for the Period between May 1, 2013 and August 31, 2013 (the “Notice of Hearing”)

     [Docket No. 5450]. The Notice of Hearing provided interested parties notice of the hearing date

     on the Application of December 17, 2013 and also provided interested parties with notice of the

     deadline within which to object to the Application of December 9, 2013.

               5.           On December 9, 2013, the UST filed its Omnibus Objection of the United States

     Trustee Regarding Fee Applications for Fourth Interim Awards of Compensation and

     Reimbursement of Out-of-Pocket Expenses (“Objection”) [Docket No. 6047]. In its Objection,

     the UST objects to the allowance of $30,375.25 in fees Applicant requests in its Application.

     The basis for the UST’s objections are: 1) $8,071.50 are fees charged by 11 attorneys that have

     billed fewer than 5 hours; and 2) $22,303.75 are for services rendered during January – April,

     2013 which may be duplicative of fees sought in the third interim application.

                            ERRATA – SPREADSHEET TO SUPPLEMENT EXHIBIT D

               The UST’s objection points out that the Application failed to attach the spreadsheet

     itemizing the expenses set forth in Exhibit D. That spreadsheet was immediately forwarded to

     counsel for the UST and a copy is attached hereto as Exhibit A.

                                        RESOLUTION OF UST OBJECTION

               Applicant and the UST have resolved the UST objections on the following terms:



     19000.9997/3000225.1                                  3
12-12020-mg          Doc 6082       Filed 12/12/13 Entered 12/12/13 19:06:06                Main Document
                                                Pg 4 of 4


              1.        The UST has accepted Applicant’s explanation of the concerns raised by the UST

     regarding time records that include entries for work performed in a prior fee period; and

               2.       Applicant has agreed to the entire reduction of $5,000 in fees.

                                                 CONCLUSION

               For the reasons stated above, Applicant respectfully requests that the UST’s Objection to

     the Application be overruled, that the Court approval the resolution of the UST’s Objection to

     the Application and subject to the terms of the resolution with the UST, approve the Application.


     DATED: December 12, 2013                     SEVERSON & WERSON
                                                  A Professional Corporation




                                                  By: /s/ Donald H. Cram
                                                      Donald H. Cram
                                                      Special California Litigation Counsel for
                                                      Residential Capital, LLC, et al.




     19000.9997/3000225.1                                4
